Case 4:21-cv-00033-ALM          Document 94        Filed 01/24/25     Page 1 of 12 PageID #: 5327




                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 TIMOTHY JACKSON,                                   §
                                                    §
           Plaintiff,                               §
                                                    §
 v.                                                 §          Civil Action No. 4:21-cv-00033
                                                    §
 LAURA WRIGHT, et al.,                              §                         JURY
                                                    §
           Defendants.                              §


                        REPLY IN SUPPORT OF DEFAMATION DEFENDANT’S
                              MOTION FOR SUMMARY JUDGMENT


           Jackson has not demonstrated falsity of the allegedly defamatory statements; therefore his

 defamation claim fails for that reason alone. He also fails to establish that he is a private figure

 instead of a limited purpose public figure, and fails to demonstrate that the Defamation Defendants

 acted maliciously or negligently. For the reasons set forth in the Defamation Defendants’ MSJ,

 their Response to Jackson’s MSJ, and herein, Jackson’s defamation claim must be dismissed.

                                 ARGUMENT & AUTHORITIES 1
      I.       Jackson has not demonstrated falsity.
           The question of whether something is a statement of fact, or non-verifiable and non-

 actionable opinion, is a question of law. Dallas Morning News v. Tatum, 554 S.W.3d 614, 639 (Tex.

 2018).

           Jackson has not demonstrated that the statements he alleges are defamatory are false – the

 students’ opinion that he engaged in racist actions, and that Ewell was not invited (by the JSS) to


 1
   Like in his Motion for Summary Judgment on the defamation claim, Jackson’s “factual
 background” in his Response contains a significant amount of argument. The inaccurate assertions
 are not limited to the ones addressed herein.
                                                   1
Case 4:21-cv-00033-ALM         Document 94        Filed 01/24/25       Page 2 of 12 PageID #: 5328




 respond in print. 2 In his Response, Jackson does little more than repeat the red herrings that these

 statements are false because Jackson’s speech does not count as an “action;” and that Ewell

 received the general call for papers that the entire music theory community received, therefore he

 was “invited to respond in print.” As argued in the Defamation Defendants’ Response to Jackson’s

 Motion for Summary Judgment (the “Response”), these arguments are not supported by the text

 of the Student Petition or Faculty Petition, or the evidence. See Doc. 92 at pp. 15-19.

        Jackson does not argue that the Student and Faculty Petitions are anything but a list of

 demands supported by opinions. He does not argue that a reasonable reader would not understand

 the Petitions to be petitions, based on the language used, the context of all of the statements in the

 petitions, and the context of the Schenker controversy. Rather, he argues that this case is not like

 Lilith Fund because in that case, the defendant identified specific, identifiable, “real behavior,”

 that he believed was “murder;” but here the students did not specifically identify Jackson’s racist

 actions in their Petition. 3 Lilith Fund for Reprod. Equity v. Dickson, 662 S.W.3d 355 (Tex. 2023).

 Jackson thereby suggests that the students were required to state the basis for their opinion in the

 Petition in order for their opinions to be protected. 4 Lilith Fund does not so hold. Further, Jackson



 2
    As stated in the Defamation Defendants’ Response, even if the statement about Ewell’s
 opportunity to respond in print is only substantially true and not literally true, it is still not
 defamatory. See Doc. 92 at p. 18.
 3
   In Lilith Fund, Dickson does not specifically identify plaintiffs’ specific behavior that he thought
 was murderous. Lilith Fund, 662 S.W.3d at 358-59. Rather, the language of his statements and the
 context fills the reader in that Dickson’s opinion was that the plaintiffs’ pro-choice advocacy,
 indeed their mere existence, was tantamount to “murder.” Id. at 368.
 4
   Jackson concludes that his own article in Volume 12 follows this rule, asserting it is protected
 speech because it is “based on evidence.” See Doc. 89 at p. 34. For example, Jackson concludes
 that Ewell is antisemitic without citing supporting evidence. Doc. 82-4 at UNT 1013. He simply
 cites data stating that there is a high incident of antisemitism among black people, points out that
 Ewell, a black man, criticized Schenker, who was Jewish, and surmises that “Ewell’s denunciation
 of Schenker and Schenkerians may be seen as part and parcel of the much broader current of Black
 anti-Semitism.” Id. He does not cite to any “evidence” showing Ewell himself is an antisemite,

                                                   2
Case 4:21-cv-00033-ALM         Document 94        Filed 01/24/25       Page 3 of 12 PageID #: 5329




 himself argues that Student Petition’s “primary focus was Jackson’s speech,” showing that a

 reasonable reader could determine that the students were referring to his article. Doc. 89 at p. 38.

         Jackson is asking this Court to stand in judgment of the students and tell them both that

 their opinions are wrong, and that they were wrong to express them. Lilith Fund, 662 S.W.3d at

 362. He is asking this Court to stand in judgment of the Faculty Defendants and tell them that they

 were wrong for supporting their students’ right to express their opinion. Id., See also Doc. 83-2,

 Defamation Defs’. MSJ APPX. 050, 123:24-124:5. The Defamation Defendants respectfully

 request that this Court uphold their rights and not indulge such an unconstitutional request.

    I.      Jackson is a limited purpose public figure
         Like the issue of falsity, the question of public figure status is one of law for courts to

 decide. WFAA-TV v. McLemore, 978 S.W.2d 568, 571 (Tex. 1998).

         A public controversy based on an esoteric topic is still a public controversy, and Jackson

 points to no law stating otherwise. Jackson argues that he is a private individual, not a limited

 purpose public figure, because the Schenker controversy would have remained “an obscure

 academic debate” but-for the Defamation Defendants’ “moral panic.” As demonstrated below, the

 Schenker controversy existed well before the Defamation Defendants entered the conversation.

         To restate the Trotter/Waldbaum elements, to be a limited purpose public figure: (1) the

 controversy at issue must be public both in the sense that people are discussing it and people other

 than the immediate participants in the controversy are likely to feel the impact of the resolution;

 (2) the plaintiff must have had more than a trivial or tangential role in the controversy; and (3) the

 alleged defamation must be germane to the plaintiff’s participating in the controversy. Trotter v.



 other than by virtue of being black. Indeed, others have assessed Ewell’s criticism of Schenker,
 and Jackson’s article, and found Jackson did not present information in his article to warrant such
 a conclusion. REPLY APPX.002, 71:13-72:1.; Doc. 83-2, Defamation Defs’. MSJ APPX.046.
                                                   3
Case 4:21-cv-00033-ALM         Document 94        Filed 01/24/25      Page 4 of 12 PageID #: 5330




 Jack Anderson Enters., 818 F.2d 431 (5th Cir. 1987). All three elements are met here. 5

        In Trotter, the Fifth Circuit found that limited purpose public figures achieve their status

 by thrusting themselves to the forefront of a public controversy in order to influence the resolution

 of the issues involved. 978 S.W.2d at 572. To identify and determine the contours of the

 controversy, the judge must examine whether persons actually were discussing some specific

 question, a general concern or interest will not suffice. Id. Despite Jackson attempts to downplay

 the status of the “Schenker controversy” as a public controversy, and his role in it, the evidence

 shows that Jackson’s own actions placed him at the forefront of the specific discussion about

 “whiteness” in the field of music theory. Jackson cannot dispute that the purpose of Volume 12

 was to influence music theorists against Ewell’s arguments.

        In McLemore, the plaintiff was a journalist who inserted himself into the Branch Davidian

 controversy in Waco, Texas, and was blamed, at least in part, for the failure of the Bureau of

 Alcohol, Tobacco, Firearms’ (“ATF”) mission to invade the compound. WFAA-TV, Inc. v.

 McLemore, 978 S.W.2d 568, 570-71 (Tex. 1998). He sued a rival television station for publishing

 a story about his role in the debacle. Id. The court of appeals found that the controversy at issue

 was limited only to the plaintiff’s ethical standards as a journalist, therefore he was a private

 individual. Id. at 572. The Texas Supreme Court disagreed, finding instead that the controversy

 was much broader and encompassed the question of the local media’s role in the ATF’s failed

 mission, and ultimately concluded that the plaintiff was a limited purpose public figure. Id. at 572-

 73.




 5
 Jackson does not dispute the second and third element except to restate his argument that the
 Defamation Defendants caused the Schenker controversy to be public, therefore the Defamation
 Defendants refer to their MSJ for the argument and support relating to the final two elements. See
 Doc. 83 at p. 18.
                                                  4
Case 4:21-cv-00033-ALM         Document 94        Filed 01/24/25      Page 5 of 12 PageID #: 5331




        Here too, the Schenker controversy is much broader than what Jackson presents. It started

 with Ewell’s SMT address in 2019, which Jackson describes as the impetus for Volume 12. See

 e.g. Doc. 1 ¶¶ 30-35, REPLY APPX.039-040,129:16-130:06. Jackson compares Ewell to Joseph

 Stalin, noting that his talk was well received but not by all, and those who did not agree with it

 were afraid to speak out. Id. Schenkerians began discussing Ewell’s talk behind the scenes, and

 Volume 12 arose as the outlet for those who did not agree with Ewell to “stand up and question

 [Ewell’s] assertions” in print. REPLY APPX.038-040, 124:5-126:18, 129:16-130:06; Doc. 89 at

 p. 7 (“[t]he JSS would provide the forum that the SMT refused to allow.”) As Jackson oft argues

 in one way or another – his denunciation of Ewell [in Volume 12] “incited an academic mob” and

 UNT joined the witch hunt. Doc. 1 at p.2.

        The timeline of the Schenker controversy also indicates it was a public controversy pre-

 Petitions. Jackson acknowledges criticism of Volume 12 began appearing on social media on July

 25, basically as soon as it was published. He testified that he first heard about the criticism about

 Volume 12 through friends who alerted him to “an attack on Twitter against the [S]ymposium.”

 REPLY APPX.041, 207:20-24. He testified that this criticism was coming from outside of UNT,

 from people who he assumed were “Ewell’s friends and colleagues and students at other places

 and people, generally, sympathetic to [Ewell’s] point of view.” REPLY APPX.041, 208:6-12; Doc.

 1 ¶¶ 52-53.

        Defendant Gain learned of the Schenker controversy on July 25, 2020 when she observed

 “quite a lot of people” from outside of UNT posting their opinions about Volume 12 on Twitter.

 Doc. 84-2, Board Defs’. MSJ APPX.058, 6:25-7:19. Also on July 25, Defendant Chung notified

 his colleagues of the “vociferous pushback” regarding Volume 12 on Twitter, Defendant Bakulina

 noted she saw the same thing on Facebook, and Defendant Cubero stated that the issue grabbed



                                                  5
Case 4:21-cv-00033-ALM         Document 94        Filed 01/24/25      Page 6 of 12 PageID #: 5332




 the attention of SMT’s Committee on Diversity. Doc. 89 at p. 9, APPX.004, 137:12-138:18,

 REPLY APPX.007, REPLY APPX.009. The backlash was already so bad that Walls was worried

 that his career would be ruined because his name was attached to the JSS. REPLY APPX.046,

 62:21-63:15.

        The criticism continued and intensified on July 26. REPLY APPX.051-053. Defendant

 Heidlberger identified criticism of Volume 12 from outside of UNT, including a Facebook post

 (that appeared on or before the morning of July 27 and garnered significant attention and

 comments) by prominent music theorist Edward Klorman, which identified Jackson’s article as the

 “core of racism.” REPLY APPX.054-065.

        On July 27, 2020, the Student Petition was posted on Twitter. 6 SMT’s Response was

 circulated on the same day. 7 The Faculty Petition came days later on July 31. Doc. 1-5 at 22-23.

 The Defamation Defendants did not cause the Schenker controversy, they merely circulated their

 respective Petitions to distance themselves from what they believed to be the unscholarly rhetoric

 in Volume 12. Doc. 1-5, at pp. 20-23, REPLY APPX.030, 75:6-10. All of the Trotter elements are

 met.

         Jackson should not be allowed to downplay his role in the Schenker controversy so that

 he can more easily accuse the Defamation Defendants. Jackson’s ability to respond to Ewell is

 protected, but so too is the Defamation Defendants’ ability to weigh in without liability for their

 opinions. Jackson must prove the Defamation Defendants acted with actual malice. For the reasons

 stated in the Defamation Defendants’ MSJ, their Response, and below, he has not done so.




 6
   At the earliest, it appears that the Student Petition was circulated to faculty members around 5:00
 PM. REPLY APPX.066, REPLY APPX.050.
 7
    See https://x.com/SMT_musictheory/status/1287918277667192833?mx=2 (last accessed
 January 23, 2025).
                                                  6
Case 4:21-cv-00033-ALM             Document 94      Filed 01/24/25     Page 7 of 12 PageID #: 5333




     II.      Jackson has not demonstrated that the Defamation Defendants acted maliciously
              or negligently.
           Setting the issue of falsity aside, most of the remaining points raised by Jackson regarding

 actual malice are addressed in the Defamation Defendants’ Response and will be reiterated only

 briefly here. For the sake of completeness, Defamation Defendants will address that Jackson has

 not demonstrated they acted maliciously or negligently.

           Negligence requires the plaintiff to show that the defendant knew or should have known

 the statement at issue was false unless the content of the statement would not warn a reasonably

 prudent publisher of its defamatory potential. D Magazine Partners L.P. v. Rosenthal, 529 S.W.3d

 429, 440 (Tex. 2017).

           First, regarding the Faculty Defendants’ inability to identify Jackson’s extortion, the

 Faculty Petition did not link to the (First) Student Petition, therefore they cannot be held liable for

 its contents, including the statement about extortion. See Doc. 92 at pp. 5-9. The students did not

 publish the statement maliciously or negligently because they had reliable knowledge of, and no

 reason to doubt, its truth. Id.

           Regarding Defendant Gain specifically, Jackson concludes that she “avoided the truth” but

 fails to identify what information she avoided. He concludes that she lied, 8 citing to her testimony

 in which she describes that she learned about Jackson’s reputation for mistreating women and

 therefore did not want to meet him or take a class with him, as evidence that she admitted that she

 avoided factual information about Jackson. REPLY APPX.014-015, 52:9-54:4. This argument that

 she “avoided the truth” about Jackson is not supported by the testimony Jackson cites, or otherwise.


 8
  Jackson states that Defendant Heidlberger’s testimony is more reliable than some of the other
 Defamation Defendants’ because it was taken early in the case and therefore there was less
 opportunity for defense counsel to interfere. Doc. 89 at pp. 42-43. Apparently, this logic does not
 apply to Defendant Gain, who, like Defendant Heidlberger, was deposed on May 19, 2021. See
 Doc. 84-2, Board Defs’. MSJ APPX. 067; MSJ APPX.057.
                                                    7
Case 4:21-cv-00033-ALM         Document 94        Filed 01/24/25       Page 8 of 12 PageID #: 5334




         Next, Jackson’s proposed speech vs. actions distinction is also not supported by the text of

 the Student Petition (the only petition that references Jackson’s “racist actions”). Jackson suggests

 that the students used the word “actions” to deliberately mislead, but there is nothing in the text of

 the Student Petition that indicates that the students intended to employ a purely legal distinction to

 specifically exclude Jackson’s statements as an example of an action. See Doc. 92 at pp. 19-20.

 Nor is there any evidence that the Faculty Defendants read the Student Petition to make such a

 distinction and decided to join in on the alleged deceit by “endorsing” it. See Doc. 92 at p. 12.

         The Student Petition, culminating in the “call to action” in which the “racist actions”

 statement appears, is meant to be a list of demands. See Doc. 1-5 at 20-21, Doc. 92 at pp. 10, 21-

 22. The students’ opinion that Jackson has engaged in racist actions provides context and an

 explanation as to why they are making their demands, and is clearly not a list of facts. Id; Compare

 Bentley v. Bunton, 94 S.W.3d 561, 584 (Tex. 2002) (clear import of the defendant’s statements,

 where he insisted he could “prove” his opinions, was that the plaintiff was corrupt as a matter of

 verifiable fact.).

         The Faculty Defendants have also been clear about their intent to endorse only the two

 elements of the “call for action” actually stated in the Faculty Petition. See Doc. 92 at pp. 12-15.

 There is nothing in their Petition that would have tipped them off that anyone would read their

 “endorsement” in this manner and find something defamatory in it.

         Jackson points to Defendant Heidlberger’s deposition testimony for the proposition that he

 made a “party admission” that the Faculty Petition endorsed the entire Student Petition. In reality,

 Defendant Heidlberger confirmed that his signature was on the Faculty Petition, and thus he

 endorsed it. REPLY APPX.030, 75:6-15. He goes on to confirm that he endorsed the specific

 portion of the Student Petition stated in the Faculty Petition – “which asks that the College of



                                                   8
Case 4:21-cv-00033-ALM          Document 94        Filed 01/24/25       Page 9 of 12 PageID #: 5335




 Music publicly condemn the issue and release freely online to the public and provide a full public

 account of the editorial and publication processes, and its failures. Responsible parties must be

 held appropriately accountable.” REPLY APPX.030, 75:16-76:13. To the extent that Defendant

 Heidlberger’s testimony is any more reliable than the other Faculty Defendants deposed in this

 matter, it corroborates their testimony and the text itself: the Faculty Defendants endorsed only the

 two points of the call to action that are actually stated in the Faculty Petition.

        Jackson’s argument that the students purposely “collapsed” the inapplicable legal

 distinction between speech and actions to “lie” about their opinion that Jackson engaged in racist

 actions is unsupported by the text and the evidence. Any argument that the Faculty Defendants

 intended to adopt this “gist” is also unsupported. See Doc. 92 at pp 12-15.

        Finally, regarding the statement about Ewell’s invitation to respond in print, Ewell was not

 invited to respond in print because receiving the general call for papers was no such “invitation.”

 See Doc. 92 at pp. 15-18. People with an understanding of the Schenker controversy know exactly

 what the Faculty Defendants meant by this statement – that he was not invited to respond to the

 responses to the call for papers in Volume 12. See Doc. 92 at pp. 15-19. For example, Slottow

 testified that he knew this statement meant that the JSS did not invite Dr. Ewell to provide a

 response to each of the items in the symposium. REPLY APPX.044,159:19-22.

         Slottow (and Jackson) even had an opportunity to “correct” this statement before the

 Faculty Petition was published. Defendant Geoffroy-Schwinden circulated a draft of the petition

 to all MHTE faculty members, including Jackson and Slottow, and neither of them spoke up and

 said that the statement was false or misleading. See REPLY APPX.016-028, REPLY APPX.042,

 251:22-253:1; Doc. 83-2, Defamation Defs’. MSJ APPX.095, 32:24-33:23. Nor did anyone else

 express that the statement was false or misleading. Slottow testified that he discussed the Faculty



                                                    9
Case 4:21-cv-00033-ALM           Document 94 Filed 01/24/25             Page 10 of 12 PageID #:
                                           5336



Petition with Geoffroy-Schwinden and told her he would not sign because he thought it was

hypocritical to protest actions that he was a part of, and that he did not agree that the journal was

being racist. Doc. 83-2, Defamation Defs’. MSJ APPX.095, 32:24-33:23. He did not state that the

statement about Ewell’s opportunity to respond in print was wrong. Compare Beneficient v.

Gladstone, No. 6:23-cv-376-JDK, 2024 WL 2338256 at *11 (E.D. Tex. May 22, 2024) (defendant

acted maliciously where the plaintiff informed him of specific factual errors both before and after

its publications.). The argument that the Faculty Defendants made this statement maliciously (or

negligently) is belied by the record.

                                         CONCLUSION
       The Defamation Defendants have demonstrated as a matter of law that the allegedly

defamatory statements are not false, but rather opinions and a list of demands not actionable in

defamation. The Defamation Defendants have also demonstrated as a matter of law that they did

not act maliciously or negligently in writing the statements in their respective Petitions. Jackson

has not met his burden to refute these arguments and the supporting evidence, therefore his

defamation claim must be dismissed.




                                                 10
Case 4:21-cv-00033-ALM   Document 94 Filed 01/24/25         Page 11 of 12 PageID #:
                                   5337



                                  Respectfully submitted,


                                  KEN PAXTON
                                  Attorney General

                                  BRENT WEBSTER
                                  First Assistant Attorney General

                                  RALPH MOLINA
                                  Deputy First Assistant Attorney General

                                  JAMES LLOYD
                                  Deputy Attorney General for Civil Litigation

                                  KIMBERLY GDULA
                                  Chief, General Litigation Division

                                         /s/ Mary B. Quimby
                                  BENJAMIN S. WALTON
                                  Lead Attorney
                                  Texas Bar No. 24075241
                                  MARY B. QUIMBY
                                  Texas Bar No. 24132506
                                  Assistant Attorneys General
                                  General Litigation Division
                                  Office of the Attorney General
                                  P.O. Box 12548
                                  Austin, Texas 78711
                                  (512) 463-2120 – Phone
                                  (512) 320-0667 – Fax
                                  benjamin.walton@oag.texas.gov
                                  mary.quimby@oag.texas.gov
                                  Counsel for Defendants




                                    11
Case 4:21-cv-00033-ALM          Document 94 Filed 01/24/25           Page 12 of 12 PageID #:
                                          5338



                                CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2025, a true and correct copy of this document was
electronically filed using the Court’s CM/ECF system, which will send notification of such filing
to the following counsel of record:

       Michael Thad Allen, Esq.
       ALLEN LAW, LLC
       PO Box 404
       Quaker Hill, CT 06375
       (860) 772-4738 (phone)
       (860) 469-2783 (fax)
       mallen@allenharrislaw.com

       Jonathan Mitchell
       MITCHELL LAW PLLC
       111 Congress Avenue, Suite 400
       Austin, Texas 78701
       (512) 686-3940 (phone)
       (512) 686-3941 (fax)
       jonathan@mitchell.law

       Counsel for Plaintiff

                                                   /s/ Mary B. Quimby
                                            MARY B. QUIMBY
                                            Assistant Attorney General




                                               12
